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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
TAMMY KITZMILLER, et al.,

Case No. 04-CV-2688
(Hon. Judge Jones)

Plaintiffs,

Vv.

DOVER AREA SCHOOL DISTRICT and DEFENDANTS PROPOSED
DOVER AREA SCHOOL DISTRICT FINDINGS OF FACT
BOARD OF DIRECTORS, AND CONCLUSIONS OF
LAW
Defendants.

 

PART SIX
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(Cleaver); p. 16:19—p. 17:3; Geesey ignored Mrs. Buckingham when she
spoke about Creationism in the June 2004 board meetings because Geesey
did not see the point of Buckingham’s comments since the board was not
discussing Creationism. v. 31 (Geesey); p. 152:17-p. 154:6.

For his part, Nilsen never believed that the board ever contemplated an
illegal course of action. v. 24 (Nilsen); p. 103:16—p. 104:12. Based upon his
graduate education, Nilsen also believed that the curriculum change was
constitutional because it neither advanced nor inhibited religion. v. 25
(Nilsen); p. 34:20—p. 35:16; D 103 at 50.

Nilsen believed that the course of action contemplated by the board was
legal based upon information provided by the solicitor. v. 24 (Nilsen); p.
106:6—11.

Plaintiff Bryan Rehm remembers Bonsell saying that the solicitor had
indicated that the curriculum was not illegal. v. 4 (Rehm); p. 110:23-p.
111:20. Buckingham remembers learning about ID when he was appointed
to the BCC in January of 2004. v. 30 (Buckingham); p. 57:22-17.

Plaintiff Bryan Rhem remembers Angie Yingling saying that she did not
understand why people were so upset and, ultimately, she voted for the

curriculum change. v. 4 (Rehm); p. 111:13~p. 114:14.

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At every point in this process Baksa believed that the board was acting in
what it saw as the best interest of the children and given the board’s Icgal
responsibility to make the final decision when board and faculty differ
concerning what is best for students. v. 36 (Baksa); p. 48:25—p. 49:16.

The text used by homeschoolers was put out by Bob Jones University text
and was not discussed at the 6/24/04 BCC meeting because its religious
content made it unsuitable for use in a public school. v. 26:124:25—p.
125:10. Miller remembers Baksa saying that this text was obviously
inappropriate. v. 13 (Miller); p. 27:8—19.

Jeff Brown did bring up ID and at that time believed he was on safe legal
ground. v. 8 (Jeff Brown); p. 86:12—17. One of Jeff Brown's objections to
the curriculum change was that it would complicate contract negotiations
with the teachers. v. 8 (Jeff Brown); p. 97:3-8.

Jeff Brown’s opinion is that Bonsell might have some interest in
Creationism but he would not violate the law. v. 8 (Jeff Brown); p.
89:20—90:1.

To Bonsell, Creationism means a literal interpretation of the Bible, which is
a matter of religious faith for Bonsell. v. 32 (Bonsell); p. 70:24—p. 71:9. To

Bonsell ID is not Creationism. v. 32 (Bonsell); p. 71:10-22.

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During discussions with faculty at the August meeting of the BCC it was

evident to Miller that Bonsell viewed ID and Creationism as two different

Pandas around this time and, in August, a meeting of the BCC focused on
Of Pandas at which she brought some reservations about the readability and
science to attention of board members. v. 13 (Miller); p. 30:2—p. 32:17.
Plaintiff Bryan Rehm recognized that Bonsell thought that teaching
intelligent design is not teaching Creationism. v. 4 (Rehm); p. 103:14-17.
Throughout the process that culminated in the curriculum change adopted
by the board on October 18, 2004, Bonsell was trying to serve the families
of the district by improving DASD schools and the education those schools
provide. v. 33 (Bonsell); p. 25:3—p. 26:3. Bonsell supported the curriculum
change even though he does not believe that ID is necessarily consistent
with his religious faith because he believed the change promoted good
education. v. 34 (Bonsell); p. 8:25—p. 9:16.

Bonsell has never taken any step that would lead to the teaching of
Creationism in the high school of DASD; he has never taken any step to

prevent the teaching of evolutionary theory; he never tried to obstruct

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purchase of the biology text recommended by the faculty. v. 33 (Bonsell);
p. 26:24—p. 27:11.

Bonsell does not believe that ID is necessarily religious. v. 34 (Bonsell); p.
6:5-9, He does not believe that [D is necessarily consistent with his
religious faith. v. 34 (Bonsell); p. 8:25—p. 9:12. He does not believe
evolutionary theory is necessarily religious or atheistic. v. 34 (Bonsell); p.
6:10-21. He realizes people can bring religious views to any scientific
theory but this does not make a scientific theories cither religious or non-
scientific. v. 34 (Bonsell); p. 6:4—p. 8:17; P 127.

Bonsell’s daughter is in biology class, she will be taught the theory of
evolution, and he has no intention of removing her from the class. v. 33
(Bonsell); p. 27:12—p. 28:4.

Plaintiff Barrie Callaghan distributed materials to the board relating to the
definition of theory and the origins of life. v. 4 (Barrie Callaghan); p.
24:10—p. 25:3.

Harkins had no problem with the presentation of evolutionary theory in the
biology text and, in fact, evolutionary theory is not inconsistent with her
religious convictions. v. 34 (Harkins); p. 41:13-20. Harkins did not vote

for the curriculum change for a religious reason. v. 34 (Harkins); p.

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73:15-17. She voted for the curriculum change because she thought it was
a good idea to add additional information; because when kids walk across
the stage [at graduation] you want them to know how to think, not just what
to think. v. 34 (Harkins); p. 84:10~20.

Cleaver did not want religion taught in the public schools. v. 32 (Cleaver):
p. 15:17-p. 16:2. Cleaver did not want Creationism taught in the public
schools because she thinks Creationism should be taught in the home and in
the churches but not the schools. v. 32 (Cleaver); p. 16:11—18.

Cleaver did not believe that ID was Creationism because the discussions she
heard about ID included no mention of Creationism, v. 32 (Cleaver); p.
17:4:-13. Cleaver also believed ID was science based upon her review of
the text Of Pandas. v. 32 (Cleaver); p. 21:3—p. 22:20. Cleaver did not
believe ID was religious. v. 32 (Cleaver); p. 26: 14-16.

Cleaver voted for the curriculum policy simply because she thought that
students would benefit from being made aware of other scientific theories
and that it would make for a better education. v. 32 (Cleaver); p.
24:24-27:7,

Geesey understands Creationism to be based on Genesis I and at no time

during her tenure as school board member did she understand the purpose of

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the board to provide for the teaching of Creationism. v. 31 (Geesey): p.
154:7-13.

Geesey did not believe ID was Creationism because ID does not reference
the Bible. v. 31 (Geesey); p. 154:14—20.

Geesey did not believe that ID was religion. v. 31 (Geesey); p. 163:3-9.
Geesey also did not believe that ID was Creationism because Bill
[Buckingham] and Alan [Bonsell] said it was a scientific theory and that
other scientists believed it. v. 31 (Geesey); p. 154:21—p. 155:5.

Geesey believed ID was a scientific theory; and her letter to the editor was
designed to make clear what the board was actually considering during this
period: choosing a biology book that taught the most prevalent theories. v.
31 (Geesey); p. 161:19—p. 162:2; p. 163:7—17; P 56 (6/20/2004) & 60 (6/
27/04).

Geesey voted against approval of the text recommended by the science
faculty because she thought there were issues that needed to be worked out:
her intent was not to deny approval of the text recommended by the faculty
at any time but simply to hold off on approval of that text to see if things

could be worked out. v. 31 (Geesey); p. 165:10—p. 166:3.

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Geesey voted for the curriculum change because she believed it was
consistent with the [DASD] mission statement by making students aware of
another theory; she did not believe that the proposed curriculum change
would result in teaching religion. v. 31 (Geesey); p. 170:5-15.

Geesey sends her children to DASD schools precisely because she wants
them to be exposed to ideas other than those that Geesey was exposed to in
Christian schools—including evolutionary theory. v.31 (Geesey); p.
173:20—p. 174:4.

Buckingham remembers learning about ID when he was appointed to the
BCC in January of 2004. v. 30 (Buckingham); p. 57:4—17. Buckingham did
research on ID and learned that it was a scientific theory that was supported
by 300 scientists. v. 30 (Buckingham); p. 57:4—21. In Spring of 2004
Buckingham delivered materials relating to biology text and curriculum to
the administration, more specifically, two CDs and a book. v. 24 (Nilsen);
p. 41:13--22. The two CDs were entitled, Icons of Evolution and
Unlocking the Mysteries of Life. v. 24 (Nilsen); p. 42:3-11; D 227, 228 &
229.

In response to claim that a board decision to require teaching of Creationism

would violate the separation of church and state Buckingham observed that

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separation of church and state was a myth, meaning it is not in the
Constitution; but he was not saying that it was permissible to teach
Creationism because the separation of church and state was a myth; he
simply believed that ID was not Creationism. v. 30 (Buckingham); p.
58:23—p. 60:6.

Buckingham never intended to permanently prevent the purchase of the
biology text recommended by the science faculty. v. 30 (Buckingham); p.
63:15—19.

Buckingham did not believe ID was a religious theory. v. 30
(Buckingham); p. 57:22—p. 58:1.

Buckingham believed that Creationism was a biblical theory whereas ID
was a scientific theory.

Buckingham did not believe ID was Creationism at any time during the
process that led up to the curriculum policy. v. 30 (Buckingham); p.
58:2—4.

Buckingham did not believe that ID was Creationism when he voted for the

curriculum change on October 18, 2004. v. 30 (Buckingham); p. 62:16—19.
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When Buckingham voted for the curriculum change he did not believe that
the board was enacting an illegal curriculum policy. v. 30 (Buckingham); p.
63:11-14.

Buckingham never had as his purpose to prevent the teaching of
evolutionary theory. v. 30 (Buckingham); p. 64:22-25,

Buckingham supported the curriculum change on October 18, 2004 to give
students an alternate scientific theory to go along with their biology class.
v. 30 (Buckingham); p. 65:1-6.

The Plaintiffs have failed to prove that the Defendants had a religious
purpose based on statements said to demonstrate an illicit motive or goal on
the part of these third parties who were strangers to board members.
Although the Plaintiffs focus a great deal of attention on Discovery
Institute’s “Wedge Strategy,” there is no evidence that the Defendants have
never seen the so-called “Wedge Document” or discussed the “Wedge
Strategy” with anyone at any time. Although the Plaintiffs focus on
statements of Phillip Johnson, there is no evidence that the Defendants do
not know the man. Although the Plaintiffs focus on the Foundation for
Thought and Ethics (“FTE”) and statements made by Jon Buell, there is no

evidence that the Defendants ever spoke with Buell or knew nothing about

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the origins, purpose, or mission of FTE. Although the Plaintiffs are focused
on prior drafts of the text Of Pandas, and the motives or statements of its
authors or editors, there is no evidence that the Defendants had any
knowledge of, or interest in, these statements, or for that matter the motives,
purpose, or metaphysical commitments of these strangers.

Making Students Aware of Something by Mentioning it Is Not Teaching
as That Term [s Used in the Educational Profession.

Nilsen was not concerned with teachers mentioning Creationism because he
believed that the conduct described—and advised—by Peterman violated the
law on the theory that mentioning Creationism amounted to a teaching of
Creationism in violation of the law. v. 24 (Nilsen); p. 29:17--p. 30:20.
Teaching is a term of art in the educational profession that has a techinical
meaning which includes specific objectives in curriculum, identified steps
for implementation, dedicated materials, and assessment. v. 24 (Nilsen); p.
31:12--p. 32:1.

Baksa was not concerned that teaches were engaged in unlawful activity
when he learned via the Peterman memo that teachers were mentioning
Creationism because merely mentioning something is not teaching it as that

term is used in the educational profession, which involves specific
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instrucitonal objectives, instructional goals, dedicated materials, assessment
of student learning, and feedback from teachers to students. v. 26 (Baksa);
82:9-83:4.

Linker explained to Baksa that when he began his presentation on
evolutionary theory, he drew a line down the middle of the chalkboard; on
one side of the board he wrote evolution, on the other side of the board he
wrote Creationism; and he told students that he would not be discussing
Creationism, which was based on religion and writings in the Bible because
he was not an expert; at the time Linker mentioned Creationism to his
students before teaching evolution, he knew it was illegal to teach
Creationism but he did not believe he was doing anything illegal. v. 36
(Linker) p. 74:7-14; p. 67:5—16; p. 70:1—p. 71:5.

Neither Nilsen or Baksa ever believed that mentioning either Creationism or
ID was teaching it. v. 25 (Nilsen); p. 52:4—p. 53:1; D 138 & 139; v. 35
(Baksa); p. 34:19—p. 35:17; v. 36 (Baksa); p. 41:19—p. 42:19.

Before speaking with Peterman, Spahr had spoken with the science faculty
and based upon what the teachers had told her Spahr told Peterman that
Creationism per se was not taught because it was not within state standards.

v. 14 (Spahr); p. 6:13-—19.

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Before speaking with Peterman, Spahr had spoken with the science faculty
and based upon what she learned from the teachers, Spahr told Peterman
that teachers mentioned Creationism but they did not teach it. v. 14 (Spahr);
p. 6:13-7:1.

Jen Miller, the veteran biology teacher, told Spahr that teacher would
mention Creationism as an alternate to Darwin’s theory. v. 14 (Spahr): p.
7:2-8.

Jen Miller also told Spahr that if students wanted to talk about Creationism
they should talk to their families and pastors, an approach that teachers took
because they knew the subject was controversial and they wanted to treat it
properly. v. 14 (Spahr); p. 7:9-16.

Spahr also learned that teachers would sometimes point students to the
reference section of the library if they had additional questions about
Creationism. v. 14 (Spahr); p. 7:5—21.

Jen Miller maintains that Creationism was not taught. v. 13 (Miller); p.
15:7-19.

The Pennsylvania State Academic Standards speak to teaching as that term

is used in the educational profession, teachers for DASD teach evolution as

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required by state standards they do not teach intelligent design. v. 31
(Baksa); p. 227:9—p. 228:23; p. 230:1D 54.

The Primary Effect of the Curriculum Change Is the Reading of an
informational Statement, the Placement of Books in the Library, and
an Explicit Direction That Neither ID, Creationism, or Religious Beliefs
Are Taught.

Baksa believed that the teachers also agreed that they would make students
aware of Intelligent Design in response to his suggestion that they mention
ID instead of Creationism. v. 26 (Baksa); p. 122:10-15; p. 123:7-p. 124:11;
D 19 & 20. When Baksa made this suggestion he believed it would have no
impact on what teachers taught and assessed in the classroom. v. 36
(Baksa); p. 39:24—p. 41:4.

Teachers did not teach the origins of life before the curriculum change and
they do not do so now. v. 13 (Miller); p. 15:20—p. 17:22; v. 36 (Linker); p.
71:6-8; p. 73:8-12; v. 26 (Baksa); p. 88:9-25.

Teachers recognized that the effect of the “note” added at Bonsell’s
suggestion would be to ensure that ID was not taught. D-68; v. 14 (Spahr);
p. 31:10-32:18.

The statement tells students with questions about origins to consult parents,

family, pastors, which parents had done before. v. 8 (Casey Brown); p.

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18:13—p. 19:20; D 142 (statement read January, 2005). Jen Miller also told
Spahr that if students wanted to talk about Creationism they should talk to
their families and pastors, an approach that teachers took because they knew
the subject was controversial and they wanted to treat it properly. v. 14
(Spahr); p. 7:9--16,

Teachers do not teach ID or take questions, the same approach teachers
employed with respect to Creationism prior to the curriculum change. v. 13
(Miller); p. 64:16-20. Prior to the curriculum change teachers had told her
Spahr told Peterman that Creationism per se was not taught because it was
not within state standards, teachers mentioned Creationism but they did not
teach it: v. 14 (Spahr); p. 6:13—7:8; v. 36 (Linker); p. 67:5—16; p. 70:1—p.
71:5.

The statement makes students aware of gaps and problems in evolutionary
theory, something teachers had always done. v. 13 (Miller); p. 22:9-21; v.
14 (Spahr); p. 16:8—p. 17:11.

Nilsen passed these materials from Discovery Institute on to Baksa, telling
him that a board member had dropped the materials off and that Baksa

might want to take a look at them. v. 24 (Nilsen); p. 42:220--p. 43:7,
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Upon reviewing one of these videos teachers agreed that there was some
validity to the information it contained and agreed to make students aware
of gaps in evolutionary theory, something they had already done. v. 14
(Spahr); p. 16:8—p. 17:11.

Linker wanted to view the video because it dealt with gaps in evolutionary
theory; it was the first time he actually saw a lot of gaps, although he had
taught there were gaps in class; he thought it was good to get the other side
of the story; and he told his colleagues that the video was good. v. 36; p.
72:9—p. 73:4.

At the 6/24/04 meeting teachers agreed to review the lcons of Evolution
video provided by Buckingham again, and consider using the material if it
lined up with content they taught. v. 26 (Baksa); p. 121:22—p. 122:5.

On or about October 8, 2004, Baksa presented teachers with a proposed
curriculum change from the BCC providing that students would be made
aware of gaps and problems in Darwin’s theory—and teachers were okay
with this language because this is what had been discussed. v. 13 (Miller);
p. 37:14—p. 38:3. This draft also provided that students would be made
aware of other theories of evolution and teachers were okay with that. v. 13

(Miller); p. 38:4~—14.

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In connection with the curriculum change, Nilsen has directed that teachers

should teach ET to state standards and that Creationism is not to be taught,
ID is not to be taught, the religious beliefs of teachers or board members are
not to be taught and teachers observe those directions. v. 13 (Miller); p.
56:6-24; v. 14 (Spahr); p. 42:18—p. 44:10; v. 25 (Nilsen); p. 30:16—p. 33:8;
D 103.

At the October 18, 2004 board meeting Spahr stated that teachers had
agreed to: (1) point out problems with Darwin’s theory; (2) make students
aware of other theories of evolution; (3) have Of Pandas in the classroom as
a reference text; (4) assist students if they wanted to seek other reference
material materials; and, in addition, throughout the process of consultation
and deliberation which culminated in the curriculum change, teachers had
emphasized that they did not teach origins of life. v. 14 (Spahr); p. 35:16—p.
36:14.

The statement read to students as a result of the curriculum change points
students to resources in the library that deal with ID. D 142 (statement read
January, 2005); D 193 (revised statement read June, 2005). Prior to the

curriculum change teachers would sometimes point students to the reference

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section of the library if they had additional questions about Creationism. v.
14 (Spahr); p. 7:5-21.

Another effect of the curriculum change is the placement of books in the
library. Nilsen decided to move the Of Pandas books to the library when he
learned, during a holiday meeting in the school library, that the librarian had
a section dealing with evolution, Creationism etc. v. 25 (Nilsen); p.
48:15—p. 50:7; D. 127 & 137. Spahr had recommended placement of Of
Pandas in the library at the August 27, 2004 meeting. v. 31 (Baksa): p.
221:6—-14; v. 31 (Baksa); p. 226:18-22. Nilsen was not advised to place Of
Pandas in the library by anyone prior to this decision to place the text in the
library. v. 25 (Nilsen); p. 50:8-12. Nilsen did so because he believed that
this was consistent with the intent of the board when it adopted the
curriculum change on October 18, 2004. v. 25 (Nilsen); p. 64:9-14.
Bonsell knows that Nilsen placed Of Pandas in the library and believes this
is consistent with the board’s intent when it passed the curriculum change
on October 18, 2004 because the texts are reference books. v. 33 (Bonsell);
p. 20:5-13. No member of the DASD board [as of October 31, 2005], had
called for removal of the text Of Pandas from the library. v. 33 (Bonsell); p.

20:5—16.

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The books donated by Debunk Creation were reviewed for appropriateness

and placed in the library; Nilsen did not direct the librarian where to place
the books, the books were placed where the librarian believed they should
be placed. v. 25 (Nilsen); p. 62:4—p. 63:1; v. 35 (Baksa); p. 39:9-40:2; v.
34; The board approved the addition of these donated books to the library
collection; Bonsell does not know where they are placed in the collection
because this is the librarian’s job. v. 33 (Bonsell); p. 23:24—p. 24:5; v. 34
(Harkins); p. 83:13-19. Among the books now in the library are the
following: (1) Intelligent Design Creationism and Its Critics, edited by
Robert Pennock; (2) Tower of Babel by Robert T. Pennock, and (3) Finding
Darwin’s God, by Kenneth Miller. v. 25 (Nilsen); p. 64:15—-65:2: D 221
(Pennock, Intelligent Design Creationism & Its Critics); D 225 (Pennock,
Tower of Babel); and D 223 (Miller, Finding Darwin’s God). Nilsen
allowed these books to be placed in the library becausc he believed it was
consistent with the board’s intent when it adopted the curriculum change on
October 18, 2004, and no board member has every asked him to remove
these books from the library. v. 25 (Nilsen): p. 66:4:-18. Baksa likewise
believes placement of the books from Debunk Creation is consistent with

the purpose of the curriculum change adopted by the board on October 18,

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2004. v. 35 (Baksa); p. 40:3—7. Nilsen directed Baksa to revise the
informational statement read to students in light of the donation of books
from Debunk Creation in order to inform students that there were other
resources besides Of Pandas in the library which addressed ID. v. 25
(Nilsen); p. 63:2—p. 64:8. Baksa revised the statement to include reference
to other resources in the library. v. 35 (Baksa); p. 40:8—20. Bonsell knows
that Nilsen changed the statement read to students to make them aware of
additional resources addressing ID and believes this is wholly consistent
with the purpose of the board’s curriculum change because it points students
to more information and books on the subject. v.33 (Bonsell); p. 24:6—p.
25:2; D 193 (Revised Statement read in June, 2005). Harkins thought it was
a good idea to revise the statement to make students aware of more
information and believes it 1s wholly consistent with the board’s intent. v.
34 (Harkins); p. 83:20—p. 84:9.

Ifa student goes to the catalogue of the Dover High School library and does
a search using the term “intelligent design” the result is one book: Robert
Pennock, Intelligent Design Creationism and Its Critics—and Pennock is one

of the Plaintiffs’ experts. v. 35 (Baksa); p. 40:22—p. 41:10.

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628. The curriculum change adopted by the board on October 18, 2004, as
implemented, has resulted in a four paragraph statement drafted prior to this
litigation, which references IDT twice, informs students that IDT is an
explanation for the origins of life that differs from ET, makes students
aware of a supplemental text, Of Pandas, and the existence of other texts
addressing ET and IDT, and prohibits the teaching of IDT, Creationism, or
religion.

629. The primary effect of the curriculum change is a legitimate, secular,
educational, effect: to make students aware of a scientific theory, ID, that is
related to the information students are taught about ET in their biology
classes.

[ID Is A Science Theory When Seen In Light Of The Philosophy,
History, And Sociology Of Science.

630. Dr. Steve is a highly credentialed PhD who has expertise in philosophy,
history, and sociology of science and numerous publications directly
pertinent to the Plaintiffs’ claim that ID is an inherently religious assertion.
D 243; v. 27 (Fuller); p. 1-33. Based on Fuller’s testimony, the Court finds
the following:

631. [Dis science. v. 27 (Fuller); p. 34:14-21.

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ID theorists such as Dembski and Behe are working at recognized scientific

problems using deductive and inductive approaches. v. 27 (Fuller); p.
36:1—p. 39:16.

ID is as testable as ET and, if fact, higher order theoretical claims of the

kind advanced by proponents of both ID and ET are equally testable and
testable in the same (often indirect or inferential) ways. v. 27 (Fuller): p.
35:15—21; p. 82:18-86:22; p. 99:24—p. 103:8.

ID cannot be disqualified from science on the grounds that it is not testable
because it can take several decades for scientists to come to grips with a
theory and come up with a serious experiment that can test its merits v. 27
(Fuller); p. 82:18—-86:22; p. 99:24—p. 103:8.

Both Newton’s work in optics and Einstein’s theory of relativity required
considerable study and reflection before they could be tested. v. 27 (Fuller);
p. 84:11—p. 85:12; p. 106:8—p. 107:3.

ID Is Not Religious, Inherently Religious, Creationism, or Creation
Science.

ID is not religion and it is not inherently religious; it is not Creationism or

creation science. v. 27 (Fuller); p. 34:22—p. 35:10.

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It is not proper to classify an idea as scientific or nonscientific because the
idea arose from a “context of discovery” with a religious dimension; indeed,
most of Western science arose from a religious “context of discovery.” v.
27 (Fuller); p. 75:22—p. 80:23; p. 115:18=p. 166:25. Indeed applying this
sort of analysis to disqualify ideas from realm of science would do a great
deal of damage to science. v. 27 (Fuller); p. 107:4—p. 109:17.

What qualifies an idea as science is not its “context of discovery” the
mindset of the individual scientist, but rather, the “context of justification,”
i.c., whether the idea can be understood and tested by someone who does
not share the “context of discovery.” v. 27 (Fuller); p. 80:24—p. 82:17

ID cannot be disqualified from science on the grounds that it is not testable
because it can take several decades for scientists to come to grips with a
theory and come up with a serious experiment that can test its merits v. 27
(Fuller); p. 82:18-86:22; p. 99:24—p. 103:8.

ID is as testable as ET and, if fact, higher order theoretical claims of the
kind advanced by proponents of both ID and ET are equally testable and
testable in the same (often indirect) ways. v. 27 (Fuller); p. 82:18-86:22; p.

99:24—p. 103:8.

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ID is not inherently religious and it is not religion. v. 27 (Fuller); p.
107:4—p. 109:17; p. 135:22~p. 136:1.

The relationship between ID and religion and ET is not religion is not
different in principle. v. 27 (Fuller); p. 114:4—p. 115:17.

ID is not Creationism. v. 27 (Fuller); p. 115:18—p. 166:25.

It is mistaken to believe that ID is a science stopper simply because it has
arisen in a context of discovery characterized by a Western and religiously
monotheistic culture, a context of discovery that has actually fostered
scientific progress. v.27 (Fuller); p. 177:l—p. 199:11. In fact, Thomas
Huxley, a famous defender of Darwin’s theory of evolution, recognized that
this Western mindset, which featured a religiously inspired notion of man’s
centrality to creation, which made scientific progress, including the
development of evolutionary theory, possible. v.27 (Fuller); p. H9:12-p.
122:6. In fact, the very striving for unifying theory characteristic of
Western science originated from a religious, in a broad sense creationist,

context of discovery. v. 27 (Fuller); p. 122:7—p. 125:2.

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ID Is a Scientific Theory under the Proper Conception of Scientific
Theory.

The notion that a scientific theory is only a valid theory if it is well
substantiated is mistaken because a new theory could never get off the
ground. v.27 (Fuller); p. 104:8—21.

A oversimplified notion of theory which insists upon a claim being well
substantiated is at odds with the history of science according to which all
new theories, no matter how true, are born refuted (or at least not well
substantiated). v.27 (Fuller); p. 82:18—p. 84:10.

ID is not merely a negative argument but overs a reinterpretation of data and
reconceptualization of various sciences and offers a different explanation
for phenomena. v. 27 (Fuller); p. 104:25—p. 106:7.

New scientific theories can involve little new experimentation but consist in
a reinterpretation of existing data, such as Lavosier’s revolutionary
reinterpretation of evidences in chemistry. v. 27 (Fuller); p. 41:3-p. 44:22.
There is reason to believe that ID may be involved in the kind of

reinterpretation of data characteristic of a scientific revolution. v. 27

(Fuller); p. 86:23—p. 87:21.

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The current reception of [ID by peer reviewed journals is likewise
insufficient to disqualify ID from science, since the peer review system is
biased in favor of “normal science,” and reflects extra-
scientific/sociological features that can impede the reception and
development of new theories no matter how valid. v. 27 (Fuller); p.
125:3—p. 133:13. DASD’s statement actually promotes good science
education by making students aware of a theory that shows promise but has
not been accepted by the mainstream scientific community. v. 27 (Fuller);
p. 133:20-p. 135:21,

There is good reason to believe that ID presents the prospect of a theory that
will foster scientific progress and no question but that ID has proven
heuristic. v.27 (Fuller); p. 136:2—p. 137:18.

ID Cannot Be Disqualified from Science Through Reliance on So-calied
Methodological Naturalism.

Methodological naturalism is not an essential element of science. v. 27
(Fuller); p. 35:11—14.
Methodological naturalism is a philosophical, not scientific, principle. v. 27

(Fuller); p. 89:5—-p. 95:6.

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